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        1               IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO
        2
             Civil Action No. 1:16-cv-03079-MSK-MJW
        3
             ESTATE OF NATE CARRIGAN,
        4    JOHN CARRIGAN, MELISSA CARRIGAN,
             KOLBY MARTIN, and TRAVIS THRELKEL,
        5
             Plaintiffs,
        6
             v.
        7
             PARK COUNTY SHERIFF'S OFFICE,
        8    SHERIFF FRED WEGENER, in his
             official and individual capacity,
        9    and MARK HANCOCK, in his official
             and individual capacity,
       10
             Defendants.
       11    ______________________________________________________

       12    DEPOSITION OF:  KOLBY MARTIN - October 11, 2017
                             (Confidential Designations Pending)
       13    ______________________________________________________

       14                 PURSUANT TO NOTICE, the deposition of
             KOLBY MARTIN was taken on behalf of the Defendants
       15    Park County Sheriff's Office and Sheriff Fred Wegener
             at 501 South Cherry Street, Suite 920, Denver,
       16    Colorado 80246, on October 11, 2017, at 9:58 a.m.,
             before Darcy Curtis, Registered Professional Reporter
       17    and Notary Public within Colorado.

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                                                       141                                                           143
 1        A. I cannot remember.                                1         Q. Would you agree with me that seems to be
 2        Q. Any information about any prior history           2   inconsistent recollection with the word "breach"
 3   with Martin Wirth and your department that you recall     3   behind Nate Carrigan's name?
 4   being shared at that time?                                4            MR. ELKUS: Objection. Form and
 5        A. No. No, I can't.                                  5   foundation of the question.
 6        Q. You'll see some asterisks behind some             6         A. Yeah. It would be a conflict basically,
 7   names, such as yourself, Travis, Nate, and                7   yeah.
 8   Mr. Lowrance. Any recollection of why those asterisks     8         Q. (BY MR. SCHIMBERG) Did that raise any
 9   are there?                                                9   question by you as to, wait a minute, there seems to
10        A. No, I can't remember exactly the reason          10   be kind of a discrepancy here between breach and your
11   why those asterisks were there.                          11   comment to whomever it was that asked that question?
12        Q. You were the fellas that eventually              12         A. I never made a comment to anybody in
13   stacked up at the front door, isn't it?                  13   reference to that question. I just remember the
14        A. Yes, it is.                                      14   question being asked and the captain stating, no,
15        Q. Okay. Was there any conversation about           15   we're not going inside the residence.
16   you were -- the people with asterisks behind their       16         Q. Fair enough. Thank you. Do you recall
17   name were going to be a part of a stack at the front     17   that generating any conversation by anyone else?
18   door?                                                    18         A. I believe it did, but I couldn't tell you
19        A. I can't recall if we had that                    19   what the conversation was about. I just remember that
20   conversation or not.                                     20   pretty much the short briefing that myself and Travis
21        Q. And then next to Nate's name and the             21   were involved in was brief with -- no more than a
22   asterisk is breach. Do you have any recollection of a    22   regular briefing would be and then we're all kind of
23   conversation with Hancock or anybody else that morning   23   rustling out the door to get equipment and get ourself
24                                                            24   set up with equipment out of our vehicles.
     about why that word "breach" is behind Nate's name?
25        A. No, I do not.                                    25         Q. Okay. And you are a SWAT team leader,

                                                       142                                                           144
 1         Q. Would it indicate to you that at least           1   right?
 2   there was some anticipation of breaching the              2         A. Yes.
 3   residence?                                                3         Q. If you had any concern or had questions,
 4         A. Yes.                                             4   you would have felt free to raise your hand or voice
 5         Q. Were you part of any such conversation?          5   and say, wait, I need some more information, something
 6         A. I can't remember. I can't recall on that         6   like that?
 7   day.                                                      7         A. Yes, but this wasn't a SWAT mission.
 8         Q. Any other conversations, exchange of             8         Q. Right. Well, even so, it's a mission,
 9   information, that you can recall at the substation at     9   right?
10   that time?                                               10           MR. ELKUS: Object to the form and
11         A. No, not any more than I've already              11   foundation of the question.
12   stated.                                                  12         A. It was an eviction.
13         Q. Let's go back to whomever it was that           13         Q. (BY MR. SCHIMBERG) Fair enough. But
14   said -- I forget. So clear it up for me if I don't       14   because it was an eviction, we had several of you guys
15   get it. I think you said that if he stays in, are we     15   getting ready to go effectuate the eviction. If you
16   going to go in after him, something to that effect?      16   had any questions about the process or the plan, you
17         A. Yes.                                            17   could have asked?
18         Q. All right. Did I not listen very well?          18         A. Yes.
19   Do you know who said that?                               19         Q. Okay. But as we sit here today, you
20         A. No, I can't recall who asked it. The            20   don't recall asking any questions?
21   room was full of us deputies and stuff like that, and    21         A. No, I did not.
22   I cannot remember who asked that.                        22         Q. Other than where am I to go?
23         Q. And your testimony is that Captain              23         A. Yes.
24   Hancock said, no, we aren't?                             24         Q. Okay. Did you have any sense,
25         A. Yes.                                            25   Mr. Martin, as to how long everybody had been there

                                                                                                  36 (Pages 141 to 144)

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                                                       145                                                           147
 1   talking about this before you and Travis entered?         1         A. We got whatever equipment we were going
 2        A. Maybe 10, 15 minutes, maybe more.                 2   to use out of our vehicles, yes.
 3        Q. Okay. What gave you that impression?              3         Q. As a SWAT member, do you carry your SWAT
 4        A. Just because the chalkboard or --                 4   gear in your vehicle all of the time?
 5   correction -- the white dry-erase board was already       5         A. Yes, I do.
 6   documented and posted with people on it, who was          6         Q. Okay. Do you remember what you put on?
 7   involved, plus where they're going to go, a diagram of    7         A. It was not my SWAT vest, no. It was just
 8   the property, and the picture.                            8   basically a load-bearing vest, is what we call it,
 9        Q. Okay. Were there any other SWAT team              9   that's not ballistic panels. It's just something I
10   members other than yourself and Hancock?                 10   can carry equipment on.
11        A. Travis Threlkel and Jeremy Lowrance.             11         Q. Was there any reason for that equipment
12        Q. Okay. I didn't know about Jeremy.                12   versus putting on your SWAT gear?
13        A. He was, I believe, just about to come on         13         A. I gathered that this was just an
14   or just came on to the SWAT team.                        14   eviction, it's not a SWAT incident, and we didn't need
15        Q. Okay. So we have some experienced dudes          15   to go in full bore on something that's an eviction.
16   here, do we not? We've got a commander in Hancock,       16         Q. Was that something discussed, or are you
17   correct?                                                 17   sharing with me what your mental processes were
18        A. Yes.                                             18   thinking?
19        Q. And he's the commander of SWAT, even             19         A. Mental and the way the conversation was
20   though this was just an eviction, right?                 20   pretty much going from everybody in the patrol room.
21        A. Yes.                                             21         Q. Okay. Anything specifically?
22        Q. And we had you as a team leader SWAT             22         A. No, I could not tell you that.
23   trained?                                                 23         Q. All right. Do you recall anybody raising
24        A. Uh-huh.                                          24   the specter of a SWAT callout in the substation when
25        Q. Is that yes? I'm sorry.                          25   you were there?

                                                       146                                                           148
 1         A. Yes. I'm sorry.                                  1        A. There may have, but I don't remember it.
 2         Q. No, that's fine. Travis and Jeremy. And          2        Q. Okay. What is Ops 5?
 3   Nate has spent several years with the sheriff's           3        A. It's a radio channel that we can switch
 4   office, correct?                                          4   to other than the normal primary channel that
 5         A. Yes.                                             5   everybody talks across.
 6         Q. Okay. So in terms of Sheriff Wegener, do         6        Q. Let me put it in my own layperson's
 7   you think it was reasonable for he to rely upon this      7   terms. It would be dedicated to this eviction?
 8   experienced group of guys to develop a proper plan?       8        A. Yes.
 9         A. I believe so, yes.                               9        Q. If I'm somewhere else on the Fairplay
10         Q. Do you remember him, in the brief time he       10   side and pulled somebody over, I would use a different
11   was there, making any comments or input to this board?   11   channel than Ops 5?
12         A. No, I do not.                                   12        A. Yes.
13         Q. Okay. Did you and Travis walk in                13        Q. Okay. What do you recall -- here is one
14   together or was it staggered?                            14   for you. Did you go up to Platt Canyon in your own
15         A. We walked in together.                          15   vehicle?
16         Q. Okay. So you leave the patrol room, as I        16        A. Yes. I went in my own patrol vehicle,
17   called it, and what did you do? Where did you go?        17   yes.
18         A. All of us basically followed each other         18        Q. With anybody?
19   up to the fire station that's basically on top of what   19        A. No. By myself.
20   we call -- it's called Crow Hill, just up the mountain   20        Q. And tell me what you recall, with as much
21   basically. And we went to the fire station that's up     21   detail as possible, the conversations or what you
22   at the top of the hill.                                  22   observed there.
23         Q. The Platt Canyon group?                         23        A. We got to the fire station. Everybody
24         A. Yeah. Platt Canyon Fire Station 2.              24   parked pretty much out in front. Most of us got out
25         Q. Before you went there, did you kit up?          25   of our cars. We met with the paramedics that were

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 1   going to go with us.                                      1   hear him?
 2        Q. Who was that, if you recall?                      2         A. No, I did not hear him.
 3         A. The one was Ernie Walker, the other one          3         Q. Okay. Has Ernie told you subsequently
 4   was Devin and I can't think of his last name, and then    4   that he did talk to Hancock about it?
 5   Joe Burgette who is the assistant chief. And I don't      5         A. Yes.
 6   know how to spell Burgette. And I remember standing       6         Q. What has he told you?
 7   in the middle of two vehicles. One was Jeremy             7         A. Just pretty much the same thing he's kind
 8   Lowrance and the other one was Captain Mark Hancock's.    8   of told me, is that this feels more of a SWAT mission,
 9   Jeremy to my left, also standing with me, Captain         9   this feels more of a SWAT action. Paramedics or us,
10   Hancock standing to my right.                            10   as in medics, should have been advised of this days
11        Q. What's your proximity, like you and Reid         11   ago, if you want to say. There should have been more
12   here today?                                              12   of a plan set up than let's hurry up and go type
13         A. Pretty much as close as I am with Reid          13   situation.
14   right now. Again, Jeremy asks the captain, so if he      14         Q. When did you and Ernie have this
15   doesn't come out of the residence, we're not going       15   conversation?
16   inside, correct? And the captain said, you're            16         A. It was the summer of 2016 when I finally
17   correct, we're not going inside. And we did, I           17   got out of the hospital and out of rehab.
18   believe, a couple other things. The paramedics --        18         Q. Okay. Were you back at the office, or
19        Q. Like what?                                       19   did he come visit you?
20         A. I can't remember. Probably just                 20         A. I was actually staying at my mom's house,
21   waiting -- just sitting there waiting for the            21   because I was still out of work and I still couldn't
22   paramedics to pull out one of their ambulances and had   22   walk on my leg.
23   probably quick final little conversations. Like I        23         Q. So he came and visited you?
24   said, I can't remember exactly what. And then we all     24         A. Yes.
25   got in line and started following each other towards     25         Q. How about any of the other guys from

                                                       150                                                           152
 1   the residence.                                            1   Platt Canyon? Have you had any follow-up discussion
 2         Q. Did you have any direct conversation with        2   with Burgette or Devin?
 3   any of the three Platt Canyon guys there at the scene     3        A. Devin I've talked briefly with also
 4   or at their facility?                                     4   during the summer. And I want to say that was for a
 5         A. I believe I had a conversation with              5   holiday. I can't remember which holiday it was. It
 6   Ernie, because he expressed his concerns of the reason    6   might have been the 4th, 4th of July, 2016. Me and
 7   why they're being requested to stand by and why there     7   Ernie both went to his residence for a barbecue.
 8   were so many officers being involved in an eviction.      8        Q. Oh. What did Devin have to say?
 9   And he said that this just does not sound right.          9        A. Not a lot. Unfortunately at that time
10         Q. Okay. This was just you two guys off to         10   when I talked with Devin, he was highly intoxicated
11   the side?                                                11   already, so we didn't really get into a lot of
12         A. Yeah. I want to say briefly before we           12   conversation about it. He was doing his thing,
13   all started hopping into our vehicles.                   13   referenced the barbecue.
14         Q. You and Ernie are pretty good friends --        14        Q. More of a social get-together?
15         A. Yeah.                                           15        A. Yes.
16         Q. -- from SWAT trainings?                         16        Q. All right. You and Travis walk in late.
17         A. Yes.                                            17   What was your impression of who was organizing and
18         Q. Did he say that he was upset about it           18   officer in command?
19   because they weren't given much notice?                  19        A. Captain Hancock.
20         A. Yes.                                            20        Q. Was that by seniority or experience or
21         Q. Okay. Did he expand on that?                    21   just how it fell in his lap or do you know?
22         A. I can't remember exactly what me and him        22        A. I think just because of his rank.
23   talked about. And I want to say that he also             23        Q. Okay. In your experience with Captain
24   expressed his concerns to Captain Hancock.               24   Hancock -- tell me if this is right or wrong -- he
25         Q. You say you want to say that, but did you       25   would have entertained questions and ideas from the

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                                                       173                                                           175
 1        A. Yes.                                              1   where I couldn't even see, going up like this, to look
 2        Q. In what way?                                      2   inside the residence.
 3        A. Like I said, he never responded, he never         3         Q. Did you actually do that, cup your hands
 4   looked towards my direction or to the direction of my     4   over your eyes and try to peer in?
 5   voice. His demeanor of walking was not slowed that he     5         A. Yes, I did. And then from -- I'm not
 6   recognized that someone was saying something to him.      6   sure exactly what point, when I was here, the radio
 7        Q. Did it raise your level of sensitivity,           7   traffic from Mark Hancock calling us, myself, Travis
 8   or how would I say it? Yeah, that's as good as any.       8   Threlkel, and Jeremy Lowrance, to the front door.
 9        A. As in?                                            9         Q. Okay. So when you're peering in, did you
10        Q. Well, did it make you tense? Did it make         10   see any evidence of Mr. Wirth?
11   you anticipate anything?                                 11         A. I didn't see anything. It was so dark
12        A. Just to my wondering is why he was, you          12   and tinted. Like I said, it was extremely dark and
13   know, going back inside the residence.                   13   tinted that I couldn't even see anything.
14        Q. Okay. Did you satisfy yourself that              14         Q. Okay.
15   there was a court order to evict him?                    15         A. He could have been standing right on the
16        A. Yes.                                             16   other side of the glass and I wouldn't have seen him.
17        Q. Okay. Was that discussed back at the             17         Q. So you were pretty exposed?
18   substation?                                              18         A. Yes.
19        A. No. Not at that time, no.                        19         Q. Okay. If he had weapons?
20        Q. Okay. When did you kind of satisfy               20         A. Yes.
21   yourself that you had a proper court order?              21         Q. So you're called up to the front door?
22        A. I can't remember exactly when, but I had         22         A. Yes.
23   seen the actual documents prior to that day.             23         Q. Share with us your mental impression, if
24        Q. Oh, okay. So he goes back inside?                24   any, hearing that request.
25        A. Yes.                                             25         A. Why are we getting called up to the door?

                                                       174                                                           176
 1         Q. Did you communicate with Mark or Nate            1   There shouldn't be any reason. He's not coming out.
 2   about what that meant to you or anything like that?       2         Q. Did you ask?
 3         A. No.                                              3         A. No, I did not.
 4         Q. What's your next recollection?                   4         Q. Okay. And I think we know this. You
 5         A. I actually approached the residence to           5   went up to the front door?
 6   kind of get a look and see what was going on. There's     6         A. Yes, I did.
 7   actually -- on this diagram, it's not shown. I don't      7         Q. Do you remember how you got up there?
 8   know why. There's a small jetty of some type of a         8         A. Pretty much from where that sliding glass
 9   wall that kind of sticks out right here where I've put    9   door -- I can't recall if there was a side window to
10   the black mark. It's just a wall that sticks out.        10   this area, because below the deck is the two-car
11   And right on the inside of this there's another          11   garage and there's literally two garage doors, not one
12   sliding glass door that goes into the basement.          12   full-size one, there's two. I can't remember if I
13         Q. Would you just put door or basement door?       13   peered into any of these windows, but I took a trek
14         A. On that gray part, my pen doesn't want to       14   between the front porch and the camper trailer that
15   write.                                                   15   was parked out, walked around over to the front porch
16         Q. I don't know if the ballpoints are              16   where Captain Hancock and Nate Carrigan were already
17   better.                                                  17   standing.
18         A. Yeah. For some reason, that doesn't want        18         Q. All right.
19   to write on the gray part from where it's printed.       19         A. I don't know if you need to see it, I
20         Q. All right. So you're giving us some             20   just drew black where I went here, up and around.
21   detail there now leading up to where you went to?        21         Q. Pretty much a semicircle around to the
22         A. Yes.                                            22   front?
23         Q. Which was where?                                23         A. Yes.
24         A. I just went up to the sliding glass door.       24         Q. Thanks for doing that. Now, when you got
25   It was extremely tinted, mirror tinted, if you will,     25   to the front door, any conversation?

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                                                       177                                                           179
 1          A. I'm not sure on timeline what was               1           MR. ELKUS: Object to the form of the
 2   conversated before or after. I do remember the radio      2   question.
 3   traffic from Captain Hancock to the sheriff on the        3        A. What do you mean?
 4   aspects that there's too much time going by. We need      4        Q. (BY MR. SCHIMBERG) Well, there was an
 5   to get in there. And I'm not sure exactly what else       5   opportunity for you when you got there, even before
 6   was transpiring on the radio. The question was asked      6   Travis and Jeremy showed up, to say, Captain, what are
 7   to myself, Travis, and Jeremy -- and I'm not sure when    7   we doing up here?
 8   Jeremy and Travis got to the front door. I just know      8        A. Yeah, there was an opportunity, but I
 9   all of a sudden they're standing around me. The           9   never asked.
10   question was who has a flashlight. And the aspects       10        Q. Okay. Did anybody before you entered?
11   was who has a flashlight on their rifle. I said I am,    11        A. I don't recall.
12   because I was the only one who had a flashlight on the   12        Q. Okay. That's all we can go by, is what
13   rifle.                                                   13   you recall. Your impression was, when you heard this
14          Q. Who asked the question?                        14   request, why are we being asked to go to the front
15          A. Hancock.                                       15   door?
16          Q. Okay.                                          16        A. Yes.
17          A. He said, okay, you're first.                   17        Q. Is that correct?
18          Q. Okay. Let me back up, because I didn't         18        A. Yes.
19   ask you a very good question. When you went up to the    19        Q. And you get there. And do you have any
20   front door, were Nate and Hancock announcing             20   sense of the time before Travis and Jeremy got there?
21   themselves or knocking on the door? Do you recall any    21        A. No, I do not. Like I said, all I
22   of that?                                                 22   remember is all of a sudden they're standing next to
23          A. If I remember, I remember seeing Nate          23   me.
24   knocking on the door when I got up there.                24        Q. Okay. Was there any conversation between
25          Q. Okay. Do you remember either one of them       25   you, Jeremy, and Travis when they got up there?

                                                       178                                                           180
 1   verbalizing that they're with the sheriff's office?       1         A. No, there wasn't.
 2        A. I can't recall, no.                               2         Q. Were you standing in sort of a cell
 3        Q. Okay. Did you?                                    3   group, or were you already sort of lined up?
 4        A. No, I did not.                                    4         A. Semi lined up.
 5        Q. Okay. Did you call Travis and Jeremy to           5         Q. Okay. And tell me what order. Who was
 6   come down to the front door?                              6   where?
 7        A. No, I did not.                                    7         A. Well, I was --
 8        Q. Who do you think did?                             8         Q. Let's leave that one. Let me see if I
 9        A. Hancock.                                          9   have a better one for you. I don't know if I do,
10        Q. Okay. Was it the one directive to come           10   quite honestly. Just so we can kind of keep things
11   to the front door to all of you, or was there            11   separate, let me show you another diagram from the
12   subsequent ones to call Travis and Jeremy down there?    12   CBI.
13        A. I can't remember if it was one or a              13            (Deposition Exhibit 28 was marked.)
14   couple. I just know that, hey, guys -- to the avenue,    14         Q. I've marked Exhibit 28, which is another
15   hey, guys, I need you at the front door and I need you   15   diagram of the 36 Iris Drive location. It's a little
16   here now.                                                16   larger photograph of the residence there showing some
17        Q. Okay. When you get there and you've              17   of the locations here. Now, there's a rectangle
18   thought to yourself why are we going there, did you      18   called mud room. Do you see that on your exhibit?
19   verbalize that question?                                 19         A. Yes, I do.
20        A. No, I did not.                                   20         Q. All right. Is that what you've been
21        Q. Is there any reason why not?                     21   referring to as the front door?
22        A. Not following orders, being                      22         A. Yes.
23   insubordinate.                                           23         Q. Now, outside the mud room on the outside
24        Q. Well, there's no order that you couldn't         24   of it, are there steps?
25   ask a question, was there?                               25         A. There was one step in like -- I think it

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 1          Q. So you are some 10 to 15 feet away from         1   going to be first, do you know who followed?
 2   Nate and Hancock when he asked that question?             2         A. I knew I was going to be first. I just
 3          A. Yes.                                            3   gathered Travis was going to be second and Jeremy
 4          Q. Okay. So he says to you, you're first?          4   Lowrance would be third.
 5          A. Yes.                                            5         Q. And why did you think that, just because
 6          Q. Any explanation needed?                         6   of your positioning outside?
 7          A. No, just because I had a flashlight on my       7         A. Yes.
 8   rifle.                                                    8         Q. Okay. And where was Mark Hancock going
 9          Q. What's the connection between -- I think        9   to be?
10   I know, but the connection between a flashlight and      10         A. He was still behind Nate Carrigan right
11   you being first?                                         11   there next to the door.
12          A. Just in case the interior was dark and we      12         Q. Was there any discussion as to who was
13   can illuminate it.                                       13   going to go in when?
14          Q. Did you turn your flashlight on?               14         A. No. Just that I was going to be first.
15          A. No, I did not.                                 15   And I assume that's why Travis and Jeremy were right
16          Q. Ever?                                          16   next to me, that they were going to be second and
17          A. No, I did not.                                 17   third.
18          Q. All right. Walk me through this. What          18         Q. When it was announced that you were going
19   happens next, to your recollection?                      19   to be first, did you ask any question like are we
20          A. I can explain a little bit more, if you        20   really breaching or anything like that or I didn't
21   have a diagram, of the actual interior of the            21   think we were going in, anything like that?
22   residence.                                               22         A. I had thoughts of it, but, no, I did not
23          Q. I do.                                          23   state it verbally.
24          A. That will work right there.                    24         Q. Okay. Did anybody else say anything?
25          Q. Let's mark it.                                 25         A. Not that I can remember.

                                                       186                                                          188
 1            (Deposition Exhibit 29 was marked.)              1         Q. Okay. What do you recall happening next?
 2        Q. Did you have any intel on the layout of           2         A. Like I said, with the conversation across
 3   the interior of the residence?                            3   the radio between Hancock and the sheriff, I heard,
 4         A. No, I did not.                                   4   okay, go ahead and breach. And that's when Hancock
 5        Q. Again, this comes out of the CBI report,          5   looked at Nate Carrigan and said go ahead and breach
 6   the investigation. You'll see in the lower right-hand     6   or breach, and Nate started kicking the door with his
 7   corner is some Bates stamp numbering, Carrigan 018835.    7   foot.
 8   Do you see that?                                          8         Q. Okay. Was there any doubt, in your mind,
 9         A. Yes.                                             9   you were going to breach when it was pointed out to
10        Q. I got it from your attorneys, but also           10   you you're first?
11   the CBI. Does this work for you to explain what          11         A. There was no doubt that we're going in.
12   happens next from the outside?                           12         Q. Okay. And that had occurred prior to
13         A. Yes. This one and this one will be              13   communication with the sheriff?
14   perfect for explaining.                                  14         A. I think it was kind of intertwined with
15        Q. Just for our record, when you said this          15   everything, of us walking up there, Travis and Jeremy
16   one and this one --                                      16   walking up there, and them knocking and announcing.
17         A. I'm sorry.                                      17   It was like all wrapped up in the same timeline.
18        Q. That's all right.                                18         Q. Okay.
19         A. Exhibit 28 will work on the starting of         19         A. All kind of occurring in the same time.
20   it and then continuing on it will be Exhibit 29, when    20         Q. Okay. Did you see the sheriff on the
21   we actually enter the residence.                         21   site?
22        Q. All right. Before you enter, do you get          22         A. No, I did not.
23   into a conga line?                                       23         Q. Okay. You didn't see him at the time you
24         A. I don't believe so.                             24   observed the conversation out on the deck --
25        Q. Do you know who went where? If you were          25         A. No, I didn't.

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                                                       209                                                           211
 1   the room is laid out, obstacles, and stuff like that.     1   first round after taking my first step and was going
 2         Q. Okay. Let me take you back. As I                 2   to go around the corner, that's when I caught the
 3   understand it, you're in the mud room still before you    3   first round. To me it felt like -- if anybody has
 4   walk along the kitchen wall there. You announce           4   ever been hit by a paintball, that's what it felt
 5   sheriff's office, show me your fucking hands?             5   like, or if somebody comes and flicks you real hard.
 6         A. Correct.                                         6         Q. Really?
 7         Q. Let's go back to role-playing. Could you         7         A. That's what it felt like. I knew I was
 8   give me a flavor for what Kolby Martin sounds like at     8   hit. I took a step back and my back was actually up
 9   that time?                                                9   against the stove that's on that diagram. My back was
10         A. It would be in the same -- like I did           10   up against that stove, Travis directly to my left. I
11   when I was outside trying to yell at Mr. Wirth not to    11   looked at Travis and said, Travis, I'm hit. He
12   go back inside the residence. I would have probably      12   jokingly looked at me and said, no, you're not. I
13   not exactly yelled it, but my voice would have been a    13   looked at him again and said, yes, I am, and that's
14   lot higher and a lot more of a command.                  14   when I started running back out of the house.
15         Q. Was there any doubt, in your mind, that         15         Q. That is when you started your retreat?
16   you could have been heard by Mr. Wirth?                  16         A. Yes.
17         A. Doubt, as he couldn't hear me?                  17         Q. You did away with one of my assumptions.
18         Q. Yes.                                            18   I thought you went down immediately?
19         A. I don't believe so. I believe he would          19         A. No, I did not.
20   have heard me.                                           20         Q. Okay. Do you remember going down?
21         Q. Yes. Especially now that you have an            21         A. Yes, I do.
22   idea of where he was positioned?                         22         Q. All right. Where were you located when
23         A. After the fact, yes.                            23   you went down?
24         Q. Yes. He would have heard you?                   24         A. I probably just made one step into the
25         A. Yes, he would have heard me.                    25   mud room, almost out the door.

                                                       210                                                           212
 1        Q. Okay. Now, thinking about it, when you            1         Q. Okay. And you went down as a result of
 2   announced it in that way, if I'm behind you, would I      2   the shot to your left femur?
 3   be reasonable in thinking that, oh, Deputy Martin sees    3         A. Correct.
 4   this guy?                                                 4         Q. Okay. And that one did feel like a
 5        A. No.                                               5   bullet?
 6        Q. Why not?                                          6         A. Yeah. It felt like my leg exploded.
 7        A. Because I did not challenge.                      7         Q. At any time did you return fire?
 8        Q. Maybe that's what I'm missing. What's             8         A. No, I did not.
 9   the difference between what you said and a challenge?     9         Q. Why not?
10        A. I would have continued on saying show me         10         A. I did not know where he was at. I've
11   your hands, turn away from me, more detailed. I would    11   been trained and everything of not to spray and pray.
12   have continued on giving more verbal commands.           12         Q. That's an acceptable training technique?
13        Q. Gotcha. I am just freezing. I'm sorry.           13         A. As in?
14        A. I'm roasting.                                    14            MR. ELKUS: Object to the form of the
15        Q. Are you really?                                  15   question.
16        A. Yeah.                                            16         Q. (BY MR. SCHIMBERG) Where did you receive
17        Q. And then you get shot?                           17   that training?
18        A. Yes.                                             18         A. Through academy, through SWAT training,
19        Q. And the first one you take is beltline?          19   just through my career in law enforcement.
20        A. Just below my beltline, yes.                     20         Q. Okay. Do you have a feel for what the
21        Q. And then you are shot again?                     21   rationale of that is?
22        A. I cannot recall when I got the two rounds        22         A. As in spray and pray?
23   in my right leg. And I cannot tell you when I got the    23         Q. Yes.
24   other round that was on my left leg kind of more like    24         A. Is that you're just shooting wildly and
25   to the surface through and through. When I caught the    25   trying to hit anything and everything that you can try

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                                                       249                                                           251
 1        Q. (BY MR. SCHIMBERG) My question is: When           1   counterpart in here to take over for me.
 2   he went back inside, in your mind, he did not become a    2            THE DEPONENT: Okay.
 3   barricaded subject just by going back inside?             3            MR. SCHIMBERG: And I'm almost done,
 4        A. No.                                               4   you'll be glad to hear.
 5        Q. Okay. When, in your mind, did he become           5            (Recess taken, 5:35 p.m. to 5:49 p.m.,
 6   a barricaded subject?                                     6   after which time Mr. Elkus was not present and
 7        A. When he refused to come to the door after         7   Mr. Wagner was.)
 8   the knocking and the announcing.                          8            (Deposition Exhibit 32 was marked.)
 9        Q. By Nate and Hancock?                              9         Q. (BY MR. SCHIMBERG) Exhibit 32 is the
10        A. Correct.                                         10   other policy and procedure that, if I understand your
11        Q. Okay. But you don't have a recollection          11   testimony and your discovery responses, you think was
12   or a sense of how much time it was between the time he   12   violated or decision-making was inconsistent with it,
13   was knocking or -- boy, bad question. You didn't come    13   correct?
14   to the conclusion at that front door whether or not      14         A. Correct.
15   there was too much time that had transpired or not       15         Q. This is the other policy and procedure
16   enough time?                                             16   that you researched and came to that conclusion?
17        A. No, I did not.                                   17         A. Yes.
18        Q. Okay. So by the mere fact he didn't,             18         Q. Let me ask you specifically about this
19   what, promptly respond, he became a barricaded subject   19   policy. You're not critical of the policy and its
20   in your mind?                                            20   contents; you're critical of how it was effectuated in
21        A. Yes.                                             21   this instance?
22        Q. And that's when, in your estimation,             22         A. That is correct.
23   Policy 510 would be triggered?                           23         Q. And you've been trained pursuant to
24        A. Correct.                                         24   Policy 509?
25                                                            25         A. Yes.
          Q. When you're outside, did you have a

                                                       250                                                           252
 1   belief that he was a threat to you or that he was just    1         Q. And you think you're competent, as a
 2   held up in there?                                         2   result of that training, to properly comply with this
 3         A. On the aspects of threat, yes, because it        3   when it applies?
 4   was unknown of what he's doing inside the residence.      4          A. Yes.
 5   To me, in my opinion, if I don't know what's going on     5         Q. By "this," I mean Exhibit 32.
 6   inside the residence, it's still a threat until I know    6          A. Yes.
 7   otherwise. He could have been doing anything inside       7         Q. All right. So here is my confusion.
 8   that residence prior to us going inside.                  8   Help me out. The event of February 24, 2016, was not
 9         Q. This probably is totally unfair, but do          9   a high-risk warrant service?
10   you have any recollection of a thought process, when     10          A. No, it was not.
11   you were at the front door area, as to whether or not    11         Q. So this policy would not apply, would it?
12   he was posing a threat by not responding?                12             MR. WAGNER: Object to form. You can
13         A. I had a lot of things go through my mind        13   answer.
14   in reference just before going in that door.             14          A. Not at the time, no. Not at the starting
15         Q. Share those with us.                            15   of it, no.
16         A. It's going back to the same thing, is           16         Q. (BY MR. SCHIMBERG) Okay. So by your
17   expect the worst, but hope for the best. I had the       17   answer, do I infer that you think, as the day went on,
18   same two thoughts. We're going inside that door and      18   it was triggered?
19   he's standing there waiting for us. And also had I'm     19          A. Yes.
20   going inside that door and I could get injured of some   20         Q. At what point did you conclude that or
21   sort, some way.                                          21   think it kicked in?
22            MR. ELKUS: Before we go into the next           22          A. When we started putting things in line to
23   subject here, can we take a five-minute break?           23   go inside the residence.
24            MR. SCHIMBERG: Of course.                       24         Q. Okay. At that point you think 509 should
25            MR. ELKUS: I have to bring my                   25   have been followed?

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                              REPORTER'S CERTIFICATE

            STATE OF COLORADO              )
                                           ) ss.
            CITY AND COUNTY OF DENVER      )

                         I, Darcy Curtis, Registered Professional
            Reporter and Notary Public ID 20064016972, State of
            Colorado, do hereby certify that previous to the
            commencement of the examination, the said KOLBY MARTIN
            was duly sworn by me to testify to the truth in
            relation to the matters in controversy between the
            parties hereto; that the said deposition was taken in
            machine shorthand by me at the time and place
            aforesaid and was thereafter reduced to typewritten
            form; that the foregoing is a true transcript of the
            questions asked, testimony given, and proceedings had.

                         I further certify that I am not employed
            by, related to, nor of counsel for any of the parties
            herein, nor otherwise interested in the outcome of
            this litigation.

                         IN WITNESS WHEREOF, I have affixed my
            signature this 23rd day of October, 2017.

                         My commission expires May 2, 2018.


            __X__ Reading and Signing was requested.

            _____ Reading and Signing was waived.

            _____ Reading and Signing is not required.




                                  EXHIBIT 3
